                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ARIZONA


UNITED STATES OF AMERICA                    v.    TOWN OF COLORADO CITY, et al.
JUDGE H. RUSSEL HOLLAND                           CASE NO. 3:12-cv-8123-HRH
                                                           (Prescott Division)


PROCEEDINGS:           ORDER FROM CHAMBERS



       No party has requested that the Monitor’s first report of November 1, 2017, be

sealed.1

       Therefore, with this minute order, the clerk shall docket and file Monitor Roger

Carter’s November 1, 2017, report, which is currently held in the clerk’s paper file.




cc:    Roger Carter; 111 North 100 East; Washington City, UT 84780




       1
           See Case Status Order at 2 (Dec. 1, 2017), Docket No. 1139.

Order from Chambers – Status Report of Monitor                                          -1-
